   Case 3:17-cv-02923-N Document 58 Filed 10/12/18              Page 1 of 2 PageID 542


                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

COLE PECK,                   §
                             §
     Plaintiff,              §
                             §
v.                           §                           Civil Action No. 3:17-CV-2923-N
                             §
ASSET MANAGEMENT ASSOCIATES, §
LLC,                         §
                             §
     Defendant.              §

                                   FINAL JUDGMENT

       By Order dated July 18, 2018, the Court granted Plaintiff/Counter-Defendant Cole

Peck and Counter-Defendants Ja Lynn Kuo, Karen Kuo, Subho Mullick, James Fletcher III,

Salima Thobani, and Gary Mark Wilson’s (collectively, the “Guarantors”) motion to dismiss

Defendant Asset Management Associates, LLC’s (“AMA”) counterclaim for alleged past-

due rent accruing before March 6, 2017 [17]. The Court also sua sponte dismissed Peck and

AMA’s declaratory judgment claims regarding future liability under the Guaranty of the

lease for obligations arising after March 6, 2017. The Guarantors’ contribution claims in

their Third Party Complaint [21] were contingent on these dismissed claims and are therefore

moot. By separate Order of this same date, the Court grants summary judgment sua sponte

on Peck’s remaining claim for declaratory judgment.

       It is therefore ordered that: (1) AMA’s counterclaim for breach of the Guaranty for

past-due rent accruing before March 6, 2017 is denied; (2) AMA’s counterclaim for

declaratory judgment regarding future liability under the Guaranty is denied; (3) Peck’s claim


FINAL JUDGMENT – PAGE 1
   Case 3:17-cv-02923-N Document 58 Filed 10/12/18            Page 2 of 2 PageID 543


for declaratory judgment regarding future liability under the Guaranty is denied; (4) the

Guarantors’ contribution claims are denied as moot; and (5) Peck owes nothing under the

Guaranty for rent accruing on or before March 6, 2017.

      All relief not expressly granted is denied. This is a final judgment.

      Signed October 12, 2018.


                                                 _________________________________
                                                           David C. Godbey
                                                      United States District Judge




FINAL JUDGMENT – PAGE 2
